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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

LABORERS’ LOCAL #231
PENSION FUND, Individually and
on Behalf of All Others Similarly
Situated,
Plaintiff,
V. Civil Action No. 17-478-CFC

Rory Cowan, et al.,

 

Defendants.

 

ORDER

At Wilmington this 19th day of March in 2020:

For the reasons set forth in the Memorandum Opinion issued this day, IT IS
HEREBY ORDERED that the Lionbridge Defendants’ Motion for Summary
Judgment (D.I. 188) and the Buyer Defendants’ Motion for Summary Judgment

(D.I. 190) are GRANTED.

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UNITED STATES DISfRICT JUDGE
